                Case 1:22-cr-00098-PB Document 10 Filed 08/15/22 Page 1 of 1
                                       UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEW HAMPSHIRE



United States of America

                  v.                                                          22-mj-184-01-AJ
                                                                    Case No. _______________________
Lamar Carter
______________________________



                             WAIVER OF PRELIMINARY/PROBABLE CAUSE HEARING AND/OR
                            WAIVER OF DETENTION HEARING AND STIPULATION TO DETENTION

I. WAIVER OF PRELIMINARY/PROBABLE CAUSE HEARING

[     ]    Having been charged in a (complaint) (supervised release petition) pending in this District, I hereby waive
           my right to a preliminary hearing as provided in Fed. R. Crim. P. 5.1 and Fed. R. Crim. P. 32.1(b)(1).

           OR

[     ]    Having been charged with a violation of conditions of release, I hereby waive my right to a hearing, as
           provided in U.S.C. § 3148(b), to determine whether there is (a) probable cause to believe I committed a
           federal, state, or local crime while on release, or (b) clear and convincing evidence that I violated any other
           condition of release.

II. WAIVER OF DETENTION HEARING AND STIPULATION TO DETENTION

[✔ ]       I hereby stipulate to detention and waive my right to a detention hearing, without prejudice, as provided in:

                       ✔
                       __       18 U.S.C. § 3142(f), pending trial**
                       __       18 U.S.C. § 3148(a), revocation of release/pending trial**
                       __       Fed. R. Crim. P. 46(c) and 18 U.S.C. § 3143, pending sentence
                       __       Fed. R. Crim. P. 32.1(a)(1) and Fed. R. Crim. P. 46(c), pending revocation of
                                probation/supervised release hearing




Date:     08/14/2022                                                   /s/ Lamar Carter (by JJB w/p)
                                                                       Defendant


Date:     08/14/2022                                                   /s/ Jared Bedrick
                                                                       Counsel for Defendant


           STIPULATION APPROVED.


Date:
                                                                       United States Magistrate Judge
                                                                       United States District Judge


cc:        US Attorney
           US Marshal
           US Probation
           Defendant's Counsel


**The defendant is committed to the custody of the Attorney General or his/her designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. The defendant shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a court for the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United States marshal for
the purpose of an appearance in connection with a court proceeding.

USDCNH-31A (01-20)
